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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                       :       CRIMINAL NO. 23-cr-91-02 (CKK)
                                               :
               v.                              :
                                               :
JIN GUANGHUA,                                  :
                                               :
       Defendant.                              :

                       GOVERNMENT’S MOTION IN LIMINE
                    REGARDING PROCEDURE FOR ADMISSION OF
                         CO-CONSPIRATOR STATEMENTS

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby respectfully submits its Motion in Limine regarding the procedure

for admission of co-conspirator statements. Specifically, consistent with the D.C. Circuit’s

precedent and District practice, the government respectfully requests the Court admit co-

conspirator statements during trial “subject to connection,” once the government has elicited facts

to support that the relevant statements are in furtherance of the conspiracy, and that the Court not

hold a pre-trial hearing related to admissibility of each statement. Prior to filing this motion,

undersigned counsel for the government conferred with defense, who did not agree to the

procedure for admission proposed by the government.

                                  FACTUAL BACKGROUND

       The government anticipates that at trial in this matter it will seek to elicit statements of co-

conspirators, including the following categories of statements:

           •   Emails sent by charged co-conspirators (specifically, Sim Hyon Sop, Han Linlin,

               Qin Guoming) and by employees of Defendant Jin related to the procurement of

               products for North Korean entities, the payment of the same, and Defendant’s
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               position of control over the procurement business, throughout the time period of

               the conspiracy 1;

           •   Emails sent by charged co-conspirators (specifically, Han Linlin) related to

               inquiries by financial institutions investigating payments made in furtherance of the

               North Korean procurement 2;

           •   Business filings of articles of incorporation and the like for entities owned and/or

               controlled by Defendant Jin (“the Winney entities”), showing the creation of the

               entities and the involvement of Defendant Jin and the co-conspirators in the same;

               and

           •   Statements made by charged co-conspirators (specifically, Han Linlin and Qin

               Guoming) to undercover officers in May through July 2021 related to the tobacco

               leaf transactions and payments for the same.

       The government anticipates that much of the aforementioned evidence will be admissible

at trial as statements made in furtherance of the conspiracy under Federal Rule of Evidence

801(d)(2)(E). (The government also anticipates that it may seek admission of the documents

described above under other rules of evidence, to include R. 801(d)(2)(D) (statements of an agent)

and R. 803(6) (business records)). By this motion, the government seeks for the Court to set the




1
  The government notes that it has provided a list of emails that it intends to translate and produce
as exhibits at trial. Additionally, the government intends to introduce certain emails already in
English, to which defense has access, and which will be noticed as exhibits on or before the
deadline imposed by the Court.
2
  Specifically, co-conspirator Han corresponded with (1) the Winney entities’ financial institution
in Dubai in May 2018 and May 2019, related to bank inquiries about payments the Winney entities
had made, whether the payments had any connection to a sanctioned jurisdiction, including North
Korea, and the block of certain payments by correspondent U.S. financial institutions, and (2)
officials from Company 1 in May 2019, related to an inquiry by a U.S. financial institution related
to the payment made on the Winney entities’ behalf by a third-party payor.
                                                 2
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procedure by which co-conspirator statements that meet the requirements of Rule 801(d)(2)(E)

will be admitted, given that evidence of the conspiracy may be admitted through various means

over the course of the trial.

                                   LEGAL BACKGROUND

        Federal Rule of Evidence 801(d)(2)(E) provides that statements of co-conspirators made

in furtherance of the conspiracy are not hearsay. A statement made by a co-conspirator in

furtherance of the conspiracy is admissible against all co-conspirators. United States v. (Joseph)

Jackson, 627 F.2d 1198, 1216 (D.C. Cir. 1980). To admit such statements, the government need

only prove by a preponderance of the evidence that a conspiracy existed between the defendant

and the declarant and that the statement was made in furtherance of the conspiracy. United States

v. Beckham, 968 F.2d 47, 51-52 (D.C. Cir 1992) (citing Bourjaily v. United States, 483 U.S. 171,

175 (1987)). 3

        The District of Columbia Circuit additionally requires that there be independent evidence

of the conspiracy apart from the statement, although the content of the statement itself can also be

considered in determining whether such independent evidence exists. United States v. Gewin, 471

F.3d 197, 201 (D.C. Cir. 2006); United States v. Gatling, 96 F.3d 1511, 1520 (D.C. Cir. 1995);

United States v. Beckham, 968 F.2d 47, 50-51(D.C. Cir. 1992); United States v. Washington, 952

F.2d 1402, 1407(1991), cert. denied, 503 U.S. 1009 (1992).



3
  Courts have interpreted the “in furtherance of the conspiracy” language broadly. Examples of
such statements include statements that enhance a co-conspirator’s usefulness to the conspiracy,
statements that invite participation in further stakes of the conspiracy, statements that keep a co-
conspirator informed about the progress of the conspiracy, and statements that motivate a co-
conspirator to continue to participate and provide background information on key members of the
conspiracy. See United States v. Carson, 455 F.3d 336, 366-67 (D.C. Cir. 2006) (quoting United
States v. Edmond, 52 F.3d 1080, 1110-11 (D.C. Cir. 1995)); United States v. Tarantino, 846 F.2d
1384, 1412 (D.C. Cir. 1988).

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                                          ARGUMENT

       The government anticipates that the evidence at trial, including both independent evidence

and the statements of co-conspirators proffered above, will prove up the existence of the

conspiracy and Defendant’s key role in it, and will show that the above-mentioned categories of

statements were made by co-conspirators in furtherance of that conspiracy, thus satisfying the

requirements for admission. Specifically, the government’s evidence will show that (i) Defendant

was an executive controlling the Winney entities, (ii) the business of the Winney entities included

the procurement of products for North Korean companies, (iii) as part of that business, the Winney

entities procured leaf tobacco and cause it to be shipped into North Korea, (iv) the Winney entities

were responsible for the payment of invoices related to the leaf tobacco shipments through the use

of the U.S. financial system and (v) multiple employees, including Han, worked for Defendant and

knowingly participated with him in efforts to evade U.S. sanctions on the DPRK. The government

also anticipates that the evidence will show that Defendant was a founding member of the Winney

entities, that he was involved in the business throughout the relevant time period, and that he was

specifically involved at the time that the above statements were made by co-conspirators and

employees of the Winney entities. The government has proffered to defense specific evidence of

co-conspirator statements, and the theory on which they are admissible.

       The government has set the table for the Court to admit those co-conspirator statements at

trial “subject to connection,” a procedure generally followed in this District. Courts generally

eschew a pre-trial admissibility hearing on co-conspirator statements, rejecting motions from

defendants for what in essence amounts to a request for a mini-trial. 4 Moreover, D.C. Circuit



4
  See United States v. Apodaca, 275 F. Supp. 3d 123, 138 (D.D.C. 2017) (noting that much of the
same evidence and witnesses to establish the existence of the conspiracy would also be presented
to prove up the co-conspirator statements, and that “requiring witnesses to testify twice, first at a
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precedent provides the Court wide latitude to admit the co-conspirator statements at trial, without

a prior hearing, as the evidence is received and without waiting until the conspiracy is fully proven

through independent evidence.

       Given the myriad of difficulties that surround the availability of witnesses, it is just
       impractical in many cases for a court to comply strictly with the preferred order of proof
       by taking the testimony of such witnesses piecemeal, waiting until a conspiracy is fully
       proved by independent evidence, and then recalling from their normal pursuits, those who
       testify to hearsay declarations of co-conspirators. As a concession to such practical
       impediments that arise during trial, the court is vested with considerable discretion to admit
       particular items of evidence subject to connection.

Jackson, 627 F.2d at 1218 (internal citations omitted); see also United States v. White, 116 F.3d

903, 915 (D.C. Cir. 1997) (citations omitted) (“Although in Jackson we said that ‘the better

practice’ was to secure proof of the conspiracy adequate to sustain admission of the hearsay before

the hearsay itself was received, we made clear that trial exigencies would often make that

impracticable and endorsed the traditional ‘subject to connection’ approach.”).

       The D.C. Circuit has held that any motion by the defense related to the exclusion of any

statements can be deferred until the trial ends. United States v. Wilson, 26 F.3d 142, 159 (D.C. Cir.

1994) (permitting the same if that motion requires “deciding issues of fact that are inevitably bound

up with evidence about the alleged offense itself”); see also Gantt, 617 F.2d at 845 (“As a practical



pretrial hearing and second at the trial itself would result in duplicative testimony, allow defense
counsel two bites at the apple to cross-examine the cooperating witnesses… and raise a significant
concern about the safety of cooperating witnesses and their families.”); United States v. Edelin,
128 F. Supp. 2d 23, 45-46 (D.D.C. 2001) (holding that a “hearing to make an advanced
determination of conspiracy is unnecessary for the Court’s determination by a preponderance of
evidence that a conspiracy existed.”); United States v. Hin-Yung, 97 F. Supp. 2d 24, 37 (D.D.C.
2000) (where the Court, relying upon Jackson, supra, denied defendant’s motion for pre-
determination and allowed the government to prove admissibility at trial “subject to connection.”);
United States v. Cooper, 91 F. Supp. 2d 60, 78 (D.D.C. 2000) (where the Court, relying upon
United States v. Gantt, 617 F.2d 831, 845 (D.C. Cir. 1980), declined to conduct a pre-trial hearing
and instead ruled that it would instruct the jury to disregard hearsay statements if a substantial
connection has not been produced by the close of the government’s case).


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matter, to avoid what otherwise would become a separate trial on the issue of admissibility, the

court may admit declarations of co-conspirators ‘subject to connection.’”); (Joseph) Jackson, 627

F.2d at 1218 (trial courts are not required to hold “mini-trials” on the conspiracy issue before the

conditional admission of a co-conspirator’s statements).

       Wherefore, the government respectfully requests the Court to grant this Motion in Limine

and admit co-conspirator statements during trial “subject to connection,” once the government has

elicited facts to support that the relevant statement(s) are in furtherance of the conspiracy.



                                               Respectfully submitted,

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                                               United States Attorney

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